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LAW OFFICES OF SUSAN G. KELLM

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25 EIGHTH AVENUE « BROOKLYN, NEW YORK' NFROED: ///a/a (
encom tet

(718) 783-8200 FAX (718)783-8226 ° SGK@KELLMANES
FELLOW, AMERICAN COLLEGE OF TRIAL LAWYERS

January 11, 2021

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Via ECF and Email

The Honorable Kimba M. Wood
United States District Judge
Souther District of New York

500 Peal Sue 0007 MEMO ENDORSED

Re: United States v. Sean Merchant
18 CR 527 (KMW)

Dear Judge Wood:

I hope that this letter finds your Honor in good health and safe from the challenges posed
by the coronavirus.

Counsel represents the defendant Sean Merchant in the above-referenced case, pursuant
to the Criminal Justice Act. Mr. Merchant is currently scheduled to be sentenced on January 25,
2021,

I write to respectfully request that Mr. Merchant’s sentencing be re-scheduled for a date
and time convenient to your Honor in the Spring 2021, in light of the ongoing pandemic. Since
the BOP is only rarely moving inmates to their designated facilities, there is no prejudice to Mr.
Merchant.

Government counsel does not object to this request.

Your Honotr’s consideration of this request is greatly appreciated.

Sen de nts mA isa a ou cned to Respectfully submitted,
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Trilfendanr, oy Baw SSN js Ave Susan G, Kellman

ce All counsel via ECF

by May 1d. Covtinment Submissio~

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SO ORDERED: N.Y. N.Y. i{i2|a

 

U.S.D.J.

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